Case 2:15-cv-14460-GAD-APP ECF No. 1 filed 12/24/15 Page|D.l Page 10f6 \D 9

MlED (Rev.S/ta) Genel'at Civii Comp|aint

 

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

 

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plaintiff($) Judge: Drain, Gershwin A.
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COMPLAINT Clw$m|/HI~ (/Fél..]

I. Defendant§ s!. Print the full name for each defendant. If there are more defendants, use additional pages
to provide their names.

 

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5.

 

II. Statement of claim. Briefly state the facts of your case. Describe how each defendant is involved, and
exactly what each defendant did, or failed to do. Include names of any other persons involved, dates, and
places. You may use additional paper if necessary.

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III. Relief. Briefly State exactly what you want the court to do for you.

 

 

   

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lV. Additional information - Briefly enter any additional infonnation, you may usc additional paper.

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V. D§mand for Jg§y Trial. ChecJthis box if you yvant your case to be decided by a jury, instead of a judge

g Plaintiti` demands a jury trial on all issues.

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Plain s t ignature

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Plainti s Prin ed Name

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Case 2:15-cv-14460-GAD-APP ECF No. 1 filed 12/24/15 Page|D.4 Page 4 of 6
CIVIL COVER SHEET County in which action arose l z §§ ja ll d

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` PURSUANT TO LOCAL RUl_E 83.11

1. ls this a case that has been previously dismissed? m Y€S

B]No

lf yes, give the following information:

COurt:

 

Case No.:

 

Judge:

 

2. Other than stated above, are there any pending or previously
discontinued or dismissed companion cases in this or any other m Yes
court, including state court? (Companion cases are matters in which K| NO
it appears substantially similar evidence will be offered or the same _
or related parties are present and the cases arise out of the same
transaction or occurrence.)

lf yes, give the following information:

Court:

 

Case No.:

 

Judge:

 

Notes :
w

 

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New Lawsuit Check List

lnstructions: Put a check mark in the box next to each appropriate entry to be sure you have all the required documents.
w Two 12) completed Civil Cover Sheets.

 

 

 

Enter the number of defendants named in your

lawsuit in the blank below, add 2 and then enter the Caseiz:l5'¢\’~14460 _
Judge: Drain, Gershwin )f\7

 

totai in the blank. MJ: Pam Anthony p_
® Fiied: 12-24-2015Ai11;10Ai\/1
3 + 2 = ‘ 5 Complaints. iFP CARN|LL v wiLLiAM BEAUMONT nose
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Received by Clerk:\b/| Addresses are complete:

 

 

0 lf any of your defendants are government agencies
Provide two (2) extra copies of the complaint for the U.S. Attorney and the Attorney General.

 

lf Paying The Fiiing Fee: lf Asking That The Fl|ing Fee Be Waived:

m Current new civil action filing fee is attached. m Two {2) completed App|ication to Proceed in District
Court without Prepaying Fees or Costs forms.

 

Fees may be paid by check or money order made out to:

Clerk, U.S. Dl'strict Court

Received by Clerk: Receipt #: Received by marlow

Select the Method of Service you will employ to notify your defendants:

 

 

 

 

 

Service via Summons Service by U.S. Marshal Service via Waiver of Summons
by self [Oniy available if fee is waived) (U.S. Governrnent cannot be a defendant)
C] Two (2) completed 0 Two (2) completed m You need not submit any forms regarding the Waiver
l summonses for USM - 285 Forms per of Summons to the Clerk.
each defendant defendant, if you are
including each requesting the U.S. Once your case has been filedll or the Apglication to
defendant's name Marsha| conduct service Proceed without Prepaying Fees and Costs has been
and address. of your com plaint. granted, you will need:
v One (1) Notice of a Lawsuit and Request to
D Two (2] completed Waive Service of a Summons form per
Request for Service by defendant
U.S. Marshal form. 0 Two (2) Waiver of the Service of Summons forms
per defendant
Send these forms along with your filed complaint and
Re°ei"ed by Clerk: _ Received by Clerk" M a self-addressed stamped envelope to each of your
defendantsl

 

 

 

 

 

Clerl»<'s Office Use Only

 

Note any deficiencies here:

 

 

 

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